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          IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF MISSISSIPPI
                      GREENVILLE DIVISION


MONTRELL GREENE                                                  PLAINTIFF


VS.                             CIVIL ACTION NO.: 4:16-cv-93-GHD-JMV


GREENWOOD PUBLIC SCHOOL DISTRICT,
AND DEIRDRE MAYES, RANDY CLARK, AND
SAMANTHA MILTON, IN THEIR OFFICIAL
OFFICIAL AND INDIVIDUAL CAPACITIES                               DEFENDANTS



          MEMORANDUM BRIEF IN SUPPORT OF PLAINTIFF’S
           MOTION FOR IMMIUNITY AND JURISDICTIONAL
                 DEFENSE RELATED DISCOVERY

                                 I.     Introduction

      Plaintiff, Montrell Greene, requests that the Court grant his motion to

conduct limited to Defendants’ defenses of qualified immunity and lack of

jurisdictional asserted by Defendants in this case. Pursuant to L. U. Civ. R 16(a)

(3) (B) “whether to permit discovery on issues related to a motion asserting an

immunity defense or jurisdictional defense is a decision committed to the

discretion of the Court.” Plaintiff for good reasons shown in the motion and in this

memorandum brief requests that the Court grant such discovery.




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                             II.   Statement of the Facts

      Plaintiff was employed by Defendant, Greenwood Public School District

as Superintendent in April, 2013 under a three (3) year contract (Doc. #1-1, pp. 2-

33). The contract was extended by vote of the Board of Trustees for GPSD in

January, 2015 and is scheduled to terminate at the end of the 2017-2018 school

year. Id. Neither of the individual defendants, Milton, Mayes or Clark, was a

board member when Plaintiff was initially employed or when his contract was

extended in January, 2015.

      The Plaintiff was evaluated in December, 2014 and received an extension of

his contract in January, 2015. Defendant Milton, was appointed on the Board

when Plaintiff’s contract was extended in January, 2015. However, she was not on

the Board when Plaintiff was evaluated in December, 2014.

      In or about October, 2015 Defendant Mayes was appointed to the Board. In

December, 2015, Defendant Clark was appointed to the Board. As alleged in the

complaint, (Doc. #1), the individually named Defendants never participated in a

Board meeting where Plaintiff’s job performance was discussed prior to January 4,

2016, when they called a special meeting for the purpose of terminating his

employment and contract.

      Plaintiff requested permission to address the Board but was denied the

opportunity by Defendants to do so. On January 5, 2016, Plaintiff received a letter


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from the Board attorney informing him that he had been terminated “for cause”.

(Doc. # 1-1, p. 33). “For cause” is not one of the statutory grounds for termination

contained in Miss. Code Ann. §37-9-59. ¹ Therefore, on January 7, 2016, Plaintiff

requested that Defendants provide the specific reasons for the termination. (Doc.#

7-1). Rather than responding with an open, honest and transparent explanation for

the reason or reasons for Plaintiff’s termination defendants authorize their attorney

to deny the request. In the letter (Doc. 7-1) of denial the Board attorney wrote the

following:

             Please accept this letter as acknowledgement of your letter dated
             January 11, 2016 in which you request from the Greenwood
             Public School District (GPSD) additional information concerning
             Dr. Montrell Greene’s termination as superintendent of GPSD.

             Your letter is interpreted as a discovery request for a matter
             involving potential litigation. Accordingly, your request, at this
             time, must be summarily denied.

      The meeting called by Defendants to terminate Plaintiff was attended by

approximately 50 people. Further, the media had been invited and videotaped the

meeting. Hence, Plaintiff’s termination was widely publicized by Defendants

instantly resulting in Plaintiff’s reputation being defamed and permanently

stigmatizing him as a superintendent.

__________________________

             ¹    Miss. Code Ann. §37-9-59 provides in pertinent part authorizes the Board to terminate a
                 certified employee “for incompetence, neglect of duty, immoral conduct, intemperance, brutal
                 treatment of a student or other good cause…”


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      Plaintiff’s most recent contract extension with GPSD was executed on

January 29, 2015. It terminates on June 30, 2018. Therefore, Plaintiff had a

clearly established protected property interest in his contract and employment at

the time of his termination. The Defendants violated Plaintiff’s protected property

interest by terminating the contract on January 4, 2016. Further, Plaintiff has a

protected property interest in his employment as a certificate employee. Once

employed he could only be discharged for the reasons contained in §37-9-59.

Miss. Code Ann. §37-9-59 is the only statutory authority to terminate school

employees before their contract expires. Defendants were responsible for

enforcing said statute. Hence, the new that Plaintiff has a clearly established right

under §37-9-59 to be terminated for reasons set in said statute and that “good

cause” rather than “cause” is the standard. Furthermore, regardless of the reason,

Plaintiff had a protected property interest that may not be terminated without due

process of law.

                                   III.   Argument

   The Court has discretion to order discovery related to an immunity or

jurisdiction defenses where the Plaintiff’s complain shows that Defendants violated

a clearly established. Izen v. Catalina, 256 F. 3d 324, 330 (5th Cir. 2001). In Izen

v. Catalina, Plaintiff sued Defendants under the First and Fourteen Amendments

alleging malicious prosecution. The Court held that malicious prosecution was a


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clearly established tort under state law when the violation occurred. The District

Court in Izen v. Catalina the District Court denied discovery on the defense of

qualified immunity. The Fifth Circuit held that “generally, a court should allow

discovery only if it finds that the officer’s conduct violated a clearly established

right.” Id.

      In the case sub judice Plaintiff alleged that Defendants terminated his

express contract with GPSD in violation of his due process right under the

Fourteenth Amendment and Art. 3, §14 of the Miss. Constitution. (Doc. #1, pp. 6-

12, ¶¶19-39). Plaintiff further alleges that Defendants violated his liberty interest

by defaming him without due process of law in violation of the Fourteenth

Amendment . (Doc. #1, pp. 6-13, ¶¶41-43).


      Plaintiff asserts that he had a written contract with GPSD for the period July

1, 2015 – June 30, 2018. Because Plaintiff had an expressed or written contract

with GPSD he had an expectation of continued employment. Mullen v. City of

Grenada, 704 F. Supp. 567, 571 (N. D. Miss. 2010). Further, he could only be

terminated under Miss. Code Ann. §37-9-59.

      This Court has held that “a protected property interest in employment exists

only where the employee has an express or implied right to continued

employment.” Ishee v. Moss, 668, F. Supp. 554, 557 (N.D. Miss. 1987), citing

White v. Miss. State Oil & Gas Bd., 650 F. 2d 540, 541 (5th Cir. 1981) and

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McElwee v. Todd, 581 F. 2d 1182, 1183 (5th Cir. 1978). The fact that Plaintiff had

a property interest in the contract triggers the requirements for due process.

Mullen v. City of Grenada, 704 F. Supp. 567, 571 (N. D. Miss. 2010).

      The fact that a written or expressed contract creates a protected property

interest triggering procedural due process has been settled law for many years.

Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 538, 105 S. Ct. 1487, 84 L. Ed

2d 494 (1985); Board of Regents v. Roth, 408 U.S. 564, 577, 92 S. Ct. 2701, 2709,

33 L. Ed 2d 548 (1972). Hence, Plaintiff’s right to a procedural due process

hearing was clearly established before Defendants voted to terminate his

employment on January 4, 2016.

      Plaintiff believes that Defendants and others acting in concert with them

have information that would show that Defendants´ decision to terminate

Plaintiff’s employment was not objectively reasonable. Plaintiff sought the before

filing suit. Rather than disclose the reasons relied upon to terminate defendants

failed and refused to disclose the information. Instead, Defendants stated that the

request “is interpreted as a discovery request for a matter involving potential

litigation.” (Doc. #7-1) Plaintiff had not filed a lawsuit at that time. Defendants

are the sole possessors of the information relied on by them to terminate Plaintiff.

They now hope to hide behind a defense of qualified immunity. Plaintiff needs

discovery related to qualified immunity to respond to the immunity defense.


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      For the foregoing reasons, Plaintiff requests that the Court authorize

discovery related to Defendants’ claim of qualified immunity.

      RESPECTFULLY SUBMITTED, this the 17th day of June, 2016.

                                                     /s/ WILLIE GRIFFIN
                                                     WILLIE GRIFFIN, MSB 5022
                                                     BAILEY & GRIFFIN, P.A.
                                                     POST OFFICE BOX 189
                                                     1001 MAIN STREET
                                                     GREENVILLE, MS 38702
                                                     TELEPHONE (662) 335-1966

                                                     ATTORNEY FOR PLAINTIFF


                            CERTIFICATE OF SERVICE

      I, Willie Griffin, attorney for Respondent, do hereby certify that I have this day,

filed electronic the foregoing with the Clerk of Court by using the EFC system, which

sent notification of such filing to the following:

             Robert F. Stacy, Jr., Esq.
             Daniel Coker Horton & Bell, P.A.
             P. O. Box 1396
             Oxford, MS 38655-1396

      CERTIFIED, this 17TH           day of June, 2016.


                                                     _/s WILLIE GRIFFIN
                                                     WILLIE GRIFFIN




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